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                IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA


v.                                             Criminal No. 1:14cr77-HSO-RHW-2
                                                        Civil No. 1:16-cv-376-HSO


LARRY ANDERSON


     MEMORANDUM OPINION AND ORDER DENYING DEFENDANT’S
     MOTION TO VACATE, SET ASIDE, OR CORRECT SENTENCE BY A
     PERSON IN FEDERAL CUSTODY PURSUANT TO 28 U.S.C. § 2255

       BEFORE THE COURT is Defendant Larry Anderson’s Motion [262] to

Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody, filed

pursuant to 28 U.S.C. § 2255. After due consideration of the Motion, related

pleadings, the record, and relevant legal authority, the Court is of the opinion that

Anderson is not entitled to relief and that his § 2255 Motion should be denied in

accordance with Rule 4(b) of the Rules Governing Section 2255 Proceedings for the

United States District Courts (the “Section 2255 Rules”) without the requirement of

an answer by the United States Attorney and without an evidentiary hearing.

                     I. FACTS AND PROCEDURAL HISTORY

       On November 5, 2014, a Grand Jury returned an eight-count Indictment [3]

against Anderson and eight co-Defendants. On April 28, 2011, Anderson pleaded

guilty to Count 2 of the Indictment [3] which charged

       [t]hat on or about October 2, 2013, in George County, in the Southern
       Division of the Southern District of Mississippi and elsewhere, the
       defendants, KERMIT BLACKSTON and LARRY ANDERSON, aided
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       and abetted by others known and unknown to the grand jury, did
       knowingly and intentionally possess with intent to distribute a detectable
       amount of actual methamphetamine, a Schedule II narcotic drug
       controlled substance, as prohibited by Section 841(a)(1), Title 21, United
       States Code, and Section 2, Title 18, United States Code.

Indictment [3] at 3.

      On August 5, 2015, the Court sentenced Anderson to an 240-month term of

imprisonment as to Count 2. Aug. 5, 2015, Minute Entry. The Court also sentenced

Anderson to a three-year term of supervised release, a $7,500.00 fine, and a $100.00

special assessment. Id. The Judgment was entered on August 10, 2015. J. [203] at

1-6. Anderson did not appeal.

      On September 29, 2016, Anderson placed the present Motion to Vacate

pursuant to 28 U.S.C. § 2255 in the prison mailing system, Mot. [262] at 13, and the

Motion was filed into the record of this case on October 17, 2016. Anderson contends

that his “sentence was enhanced under the residual clause in U.S.S.G. § 4B1.2,

which is unconstitutionally vague.” Id. at 4. Anderson relies upon the United States

Supreme Court’s decisions in Welch v. United States, 136 S. Ct. 1257 (2016), and

Johnson v. United States, 135 S. Ct. 2551 (2015), to argue that his Motion is timely.

Id. at 12. Anderson asks the Court to vacate his conviction and sentence, and to re-

sentence him “without the unconstitutional enhancement under Guideline 4B1.2’s

residual clause.” Id. at 13.

                                  II. DISCUSSION

      Rule 4(b) of the Section 2255 Rules provides that

       [if] it plainly appears from the motion, any attached exhibits, and the

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       record of prior proceedings that the moving party is not entitled to relief,
       the judge must dismiss the motion and direct the clerk to notify the
       moving party.

Section 2255 Rule 4(b).

      Even construing all of Anderson’s allegations in his favor, he cannot

demonstrate that he is entitled to relief. See id. At sentencing, the Court adopted

the Presentence Investigation Report (“PSR”), which determined that Anderson was

at least eighteen years old at the time he committed the instant offense of possession

with intent to distribute a controlled substance, and Anderson had two prior felony

convictions for controlled substance offenses which are counted separately under

United States Sentencing Guideline § 4A1.1(a). PSR [194] at 37 (citing U.S.S.G. §§

4B1.1(a); 4B1.2(c)). Anderson was not sentenced under the Armed Career Criminal

Act, nor was he sentenced under the residual clause of § 4B1.2. Anderson therefore

has no arguable claim for relief under Johnson, even assuming for the sake of

argument that Johnson’s analysis applies to career offender determinations under

the sentencing guidelines. See United Staets v. Jeffries, 822 F.3d 192, 194 (5th Cir.

2016). For these reasons, Anderson’s Motion is also time-barred and should be

denied on this ground as well.

                                 III. CONCLUSION

      It is clear from the Motion, related pleadings, and the record that Anderson is

entitled to no relief, and the Court finds that Anderson’s Motion to Vacate, Set

Aside, or Correct Sentence by a Person in Federal Custody, pursuant to 28 U.S.C. §

2255, should be denied pursuant to Rule 4(b) of the Section 2255 Rules without an

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Answer by the United States Attorney and without an evidentiary hearing.

      IT IS, THEREFORE, ORDERED AND ADJUDGED that, the Motion [262]

of Defendant Larry Anderson to Vacate, Set Aside, or Correct Sentence by a Person

in Federal Custody, pursuant to 28 U.S.C. § 2255, is DENIED.

      SO ORDERED AND ADJUDGED, this the 31st day of October, 2016.


                                     s/ Halil Suleyman Ozerden
                                     HALIL SULEYMAN OZERDEN
                                     UNITED STATES DISTRICT JUDGE




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